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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                         CRIMINAL ACTION
VERSUS                                                           NO: 19-197
KHALID AHMED SATARY                                              SECTION: “D”

                                                                 VIOLATION: 18:1349,
                                                                 18:1347, 18:2, 18:371, and
                                                                 18:1956(h)

                 NOTICE OF TRIAL AND PRETRIAL CONFERENCE
                            (previously set on 8/1/22)

Take notice that this criminal case has been reset for TRIAL on JANUARY 17, 2023 at 9:00

a.m. before Judge Wendy B. Vitter, 500 Poydras Street, Courtroom C-352, New Orleans, LA

70130.   A FINAL PRETRIAL CONFERENCE will be held on DECEMBER 1, 2022, at

11:00 a.m.

   IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

Date: June 27, 2022                          CAROL L. MICHEL, CLERK
                                             by: Melissa Verdun, Deputy Clerk
TO: KHALID SATARY- (BOND)
Counsel for Defendant-                       AUSA: Justin Woodard, Alexander Pogozelski, Jerrob
Scott R. Grubman, Esquire-                   Duffy, John Kosmidis, Kathryn Furtado, Leslie
sgrubman@cglawfirm.com                       Garthwaite, Michael Harper and Steven Michaels
Amanda Clark-Palmer, Esquire-
aclark@gsllaw.com                            U.S. Marshal
Evan Bergeron, Esquire-
evan@winstonbergeron.com                     U.S. Probation & Pre-Trial Services Unit
Matthew Winchester, Esquire-
k.winchestercb@gmail.com                     Interpreter: NONE
Samuel Winston, Esquire-
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Jeigh Britton, Esquire-
jeigh@winstonbergeron.com


If you change address,
notify clerk of court
by phone, 504-589-7708
